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Case 17-02978-JJG-13   Doc   Filed 06/30/21   EOD 06/30/21 14:57:32   Pg 3 of 5
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                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION

 In Re:                                                           Case No. 17-02978-JJG-13

 Bonita Diane Jones                                               Chapter 13

 Debtor.                                                          Judge Jeffrey J. Graham

          ADDENDUM TO RESPONSE TO NOTICE OF FINAL CURE PAYMENT

        Date last payment received on the mortgage:                                                 6/17/2021
        Date next post-petition payment due:                                                         8/1/2021
        Amount of the next post-petition payment:                                               $     483.62
        Unpaid principal of the loan:                                                           $ 56,579.41
        Additional amounts due for any deferred or accrued interest:                            $         -
        Balance of the escrow account:                                                          $ 1,014.39
        Balance of unapplied funds or funds held in suspense account:                           $     327.93

*The Creditor is adjusting their system to recategorize the Recoverable Balance on the attached Payoff as these fees are non-
recoverable. Creditor anticipates that their system will reflect this change within 24 hours.

                                                                  Respectfully Submitted,

                                                                  /s/ Molly Slutsky Simons
                                                                  Molly Slutsky Simons (OH 0083702)
                                                                  Sottile & Barile, Attorneys at Law
                                                                  394 Wards Corner Road, Suite 180
                                                                  Loveland, OH 45140
                                                                  Phone: 513.444.4100
                                                                  Email: bankruptcy@sottileandbarile.com
                                                                  Attorney for Creditor
 Case 17-02978-JJG-13         Doc     Filed 06/30/21     EOD 06/30/21 14:57:32         Pg 5 of 5




                                CERTIFICATE OF SERVICE

I certify that on June 30, 2021, a copy of the foregoing Response to Notice of Final Cure
Payment was filed electronically. Notice of this filing will be sent to the following party/parties
through the Court’s ECF System. Party/parties may access this filing through the Court’s system:

       Mark S. Zuckerberg, Debtor’s Counsel
       margaret@waltonlegal.net

       Ann M. DeLaney, Trustee
       ecfdelaney@trustee13.com

       Office of the U.S. Trustee
       ustpregion10.in.ecf@usdoj.gov

I further certify that on June 30, 2021, a copy of the foregoing Response to Notice of Final Cure
Payment was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the
following:

       Bonita Diane Jones, Debtor
       1839 Kayla Drive
       Indianapolis, IN 46234

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (OH 0083702)
                                                  Attorney for Creditor
